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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA

DEIRDRE BAKER, individually and on    )
behalf of all others similarly situated,
                                      )              Civil Action No. 0:17-cv-02364-MBS
                                      )
              Plaintiff(s),           )
                                      )
         vs.                          )
                                      )
LANIER COLLECTION AGENCY              )
& SERVICES, INC.,                     )
                                      )
              Defendant.              )
_____________________________________ )

 DEFENDANT LANIER COLLECTION AGENCY & SERVICES, INC.’S MOTION TO
   DISMISS PLAINTIFF’S COMPLAINT PURSUANT TO RULE 12(b)(6) OF THE
                FEDERAL RULES OF CIVIL PROCEDURE

       NOW COMES Defendant, Lanier Collection Agency & Services, Inc. (“LCA”), and

pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure moves for dismissal of

Plaintiff’s Complaint for failure to state a claim upon which relief can be granted.

       WHEREFORE, LCA respectfully asks that this Court issue an Order granting its Motion

and dismissing Plaintiff’s Complaint with prejudice and charging all fees and costs to Plaintiff.

Dated: November 21, 2017

                                                      Respectfully submitted by:

                                                      /s/ Chad V. Echols
                                                      Chad V. Echols (Fed I.D. 9810)
                                                      The Echols Firm, LLC
                                                      PO Box 12645
                                                      115 Oakland Ave., Suite 102
                                                      Rock Hill, SC 29731
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                                                      Attorney for Defendant




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         vs.                          )
                                      )
LANIER COLLECTION AGENCY              )
& SERVICES, INC.,                     )
                                      )
              Defendant.              )
_____________________________________ )


                               CERTIFICATE OF SERVICE

       I hereby certify that on November 21, 2017, a true and correct copy of the foregoing was

served on counsel for Plaintiff via the USDC ECF system as follows:

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                                                   /s/ Chad Echols
                                                   The Echols Firm, LLC




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